Case 2:16-cv-00943-GMN-VCF Document 15-1 Filed 06/13/16 Page 1 of 6




   EXHIBIT 1 – E-MAIL FROM MS.
    GINAPP DATED JUNE 1, 2016
                 Case 2:16-cv-00943-GMN-VCF Document 15-1 Filed 06/13/16 Page 2 of 6


Collin Jayne

From:                              Ginapp, Kristol <Kristol.Ginapp@lewisbrisbois.com>
Sent:                              Wednesday, June 01, 2016 10:07 PM
To:                                Joseph Gutierrez
Subject:                           RE: Activity in Case 2:16-cv-00943-GMN-VCF Echevarria-Hernandez v.
                                   Affinitylifestyles.com, Inc. d/b/a Real Alkalized Water Order

Follow Up Flag:                    Follow up
Flag Status:                       Completed


Joey, 
 
                                                                                                                                     
                                                                                                                        
                                                                                                                                         
                                                                                                                             
                                                                                                                            
                                                                                                                                 
                                                                                                               
                                                                                Please be sure to advise your client that 
she will be responsible for her share of the fees associated with mediation and arbitration pursuant to the terms of the 
agreement she signed. 
 
Kristol 
 
From: Joseph Gutierrez [mailto:jag@mgalaw.com]
Sent: Wednesday, June 01, 2016 9:11 PM
To: Ginapp, Kristol
Cc: Collin Jayne
Subject: Re: Activity in Case 2:16-cv-00943-GMN-VCF Echevarria-Hernandez v. Affinitylifestyles.com, Inc. d/b/a Real
Alkalized Water Order




Sent from my iPhone

On Jun 1, 2016, at 9:06 PM, Ginapp, Kristol <Kristol.Ginapp@lewisbrisbois.com> wrote:

         Joey,
          

                                                                                                                    
                                                                                                                


                                                             1
      Case 2:16-cv-00943-GMN-VCF Document 15-1 Filed 06/13/16 Page 3 of 6
 
Kristol
 
From: Joseph Gutierrez [mailto:jag@mgalaw.com]
Sent: Wednesday, June 01, 2016 2:19 PM
To: Ginapp, Kristol
Cc: Collin Jayne
Subject: RE: Activity in Case 2:16-cv-00943-GMN-VCF Echevarria-Hernandez v. Affinitylifestyles.com,
Inc. d/b/a Real Alkalized Water Order

Kristol,

I didn’t hear back from you so we already submitted our statement regarding the ENE. I emailed
you about this last Thursday and again on Tuesday. It looks like your email got caught in my
spam filter so I did not get it until just now. Either way, I am not going to wait until the last
minute to get a response to a Federal Court order on file.

Obviously, we will oppose your motion to compel arbitration on several grounds. Even if it is
upheld, the agreement requires mediation, which I believe an ENE is the best forum.

I have had a lot of success with Judge Koppe in the past in ENEs and I think she would be
excellent for this case.

Joseph A. Gutierrez
MAIER GUTIERREZ AYON
400 South Seventh Street | Suite 400
Las Vegas, Nevada 89101
Tel: 702.629.7900 | Fax: 702.629.7925
jag@mgalaw.com | www.mgalaw.com
<image001.gif>

From: Ginapp, Kristol [mailto:Kristol.Ginapp@lewisbrisbois.com]  
Sent: Wednesday, June 01, 2016 12:56 PM 
To: Joseph Gutierrez <jag@mgalaw.com> 
Subject: Fwd: Activity in Case 2:16‐cv‐00943‐GMN‐VCF Echevarria‐Hernandez v. Affinitylifestyles.com, 
Inc. d/b/a Real Alkalized Water Order

See below.

Kristol Bradley Ginapp
Sent from my iPhone

Begin forwarded message:

          From: "Ginapp, Kristol" <Kristol.Ginapp@lewisbrisbois.com>
          Date: May 31, 2016 at 10:30:23 AM PDT
          To: 'Joseph Gutierrez' <jag@mgalaw.com>
          Subject: RE: Activity in Case 2:16-cv-00943-GMN-VCF Echevarria-
          Hernandez v. Affinitylifestyles.com, Inc. d/b/a Real Alkalized Water Order

          Here are my thoughts:  The case should be compelled to arbitration based upon the 
          arbitration provision.  However, the arbitration provision also requires mediation first, 

                                                       2
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 which I anticipate I will be contacting you about this week.                                                                                                                                                                          

                                                                                                                                                                                                                                           
                                                                                                                                                                                                                         What are your 
 thoughts?
  
  


               Right-click here to download pictures. To help protect y our priv acy , Outlook prev ented automatic download of this picture from the Internet.
                                                                                                                                                                   Kristol Bradley Ginapp 
                                                                                                                                                                   Partner  
                                                                                                                                                                   Kristol.Ginapp@lewisbrisbois.com
                                                                                                                                                                   6385 South Rainbow Blvd., Suite 600
                                                                                                                                                                   Las Vegas, NV 89118

                                                                                                                                                                   T: 702.693.4381  F: 702.893.3789  
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 Representing clients from coast to coast. View our nationwide locations.
  
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 is strictly prohibited. If you have received this e‐mail in error, you are required to notify the 
 sender, then delete this email and any attachment from your computer and any of your 
 electronic devices where the message is stored.
 From: Joseph Gutierrez [mailto:jag@mgalaw.com]
 Sent: Tuesday, May 31, 2016 9:20 AM
 To: Ginapp, Kristol
 Subject: FW: Activity in Case 2:16-cv-00943-GMN-VCF Echevarria-Hernandez v.
 Affinitylifestyles.com, Inc. d/b/a Real Alkalized Water Order

 I sent you an email last week on this response. Let me know your thoughts by
 today or we will file an individual response.

 Joseph A. Gutierrez
 MAIER GUTIERREZ AYON
 400 South Seventh Street | Suite 400
 Las Vegas, Nevada 89101
 Tel: 702.629.7900 | Fax: 702.629.7925
 jag@mgalaw.com | www.mgalaw.com
      The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




 From: cmecf@nvd.uscourts.gov [mailto:cmecf@nvd.uscourts.gov]  
 Sent: Thursday, May 26, 2016 1:29 PM 
 To: cmecfhelpdesk@nvd.uscourts.gov 
 Subject: Activity in Case 2:16‐cv‐00943‐GMN‐VCF Echevarria‐Hernandez v. 
 Affinitylifestyles.com, Inc. d/b/a Real Alkalized Water Order


 This is an automatic e-mail message generated by the CM/ECF system.
 Please DO NOT RESPOND to this e-mail because the mail box is
 unattended.
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 opinions.

                           United States District Court

                                 District of Nevada

 Notice of Electronic Filing

 The following transaction was entered on 5/26/2016 at 1:28 PM PDT and filed on
 5/26/2016
 Case Name:       Echevarria-Hernandez v. Affinitylifestyles.com, Inc. d/b/a Real Alkalized Water
 Case Number:     2:16-cv-00943-GMN-VCF
 Filer:
 Document Number: 11


 Docket Text:
 ORDER directing the parties to file joint statement as to whether this
 case should be exempted from ENE process by 6/2/2016. Signed by
 Magistrate Judge Nancy J. Koppe on 5/26/16. (Copies have been
 distributed pursuant to the NEF - JC)


 2:16-cv-00943-GMN-VCF Notice has been electronically mailed to:

 Kristol Bradley Ginapp kristol.ginapp@lewisbrisbois.com,
 kileen.watase@lewisbrisbois.com

 Joseph A. Gutierrez jag@mgalaw.com, cmb@mgalaw.com, dtr@mgalaw.com,
 jrm@mgalaw.com, laa@mgalaw.com, mes@mglaw.com, ndv@mgalaw.com

 Collin M. Jayne    cmj@mgalaw.com

 2:16-cv-00943-GMN-VCF Notice has been delivered by other means to:

 The following document(s) are associated with this transaction:

  Document description:Main Document
  Original filename:n/a
  Electronic document Stamp:
  [STAMP dcecfStamp_ID=1101333072 [Date=5/26/2016] [FileNumber=7627613-0
  ] [7d0f0e78c4983d8fa0e3352f6b94adbb955d072ce0d6b9eee3fbb032bfe6901f2d0
  b6a9583ece0581f5ebaa2fb5dd924b3c792737a04520e49a96d2e88a638d8]]


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             Case 2:16-cv-00943-GMN-VCF Document 15-1 Filed 06/13/16 Page 6 of 6
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